19 F.3d 1430
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Calvin SLADE, Plaintiff Appellant,v.J. Calvitt CLARKE, Jr., Judge;  M.D. Wright, Defendants Appellees.
    No. 94-6152.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 17, 1994.Dedcided April 7, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  John A. MacKenzie, Senior District Judge.  (CA-93-1245-2)
      Calvin Slade, appellant pro se.
      E.D.Va.
      AFFIRMED.
      Before PHILLIPS and LUTTIG, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order that denied his motion for recusal under 28 U.S.C. Sec. 455 (1988) and dismissed his 42 U.S.C. Sec. 1985 (1988) complaint as frivolous under 28 U.S.C. Sec. 1915(d) (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Slade v. Clarke, No. CA-93-1245-2 (E.D. Va.  Jan. 3, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    